Case 2:05-cr-20091-SH|\/| Document 33 Filed 08/19/05 Page 1 of 2 Page|D 28

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IN THE: UNITED sTATEs DISTRICT coUR'r
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 AUB 19 AH 62 52
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UNITED sTATES oF AMERICA, /DG,-“ S,§£“i,gp}~g;g

Plaintiff,
vs. CR. NO. 05-20091~Ol-Ma

S IDNEY THURMAN ,

Defendant.

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ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on August 2, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Sidney Thurman, appearing in person and with
appointed counsel, Ms. April Goode.

With leave of the Court, the defendant entered a plea of
guilty to Count 3 of the Indictment. Plea colloquy was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Friday, November 4, 2005
at 10:00 a.m.

The defendant is remanded to the custody of the United States
Marshal.

ENTERED this the /SKday of August, 2005.

SAMUEL H. MAYS, JR.
U'NITED STATES DISTRICT JUDGE

 

This document entered On the docket sheet in compiiance

with Hu|e 55 and/or 32(b) FHCrP on g"¢g~B-' §§

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:05-CR-20091 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

